                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:09CR49-7 -RLV


UNITED STATES OF AMERICA         )
                                 )
            vs.                  )                     SCHEDULING ORDER
                                 )
T’ANTAE DEON LITTLE              )
                                 )
           Defendant.            )
________________________________)


      THIS MATTER is before the Court on an Order (Doc. No. 9) granting

Defendant’s Motion To Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §

2255, (Doc. No. 1) in case 5:12CV131, filed November 15, 2013.

      IT IS, THEREFORE, ORDERED that:

      The Bureau of Prisons and the United States Marshals Service is hereby

ORDERED to transport and produce the body of T’ANTAE DEON LITTLE(USM#

24262-058), for re-sentencing on January 6, 2014 at 2PM, before the Honorable

Richard L. Voorhees, in the Western District of North Carolina, Statesville Courthouse,

200 West Broad Street, 2nd Floor Courtroom, Statesville, North Carolina, not later than

December 23, 2013, and upon completion of the re-sentencing hearing, Defendant is to

be returned to the custody of the Bureau of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.

      IT IS SO ORDERED.




   Case 5:09-cr-00049-KDB-DCK         Document 347       Filed 11/19/13    Page 1 of 2
                             Signed: November 19, 2013




Case 5:09-cr-00049-KDB-DCK     Document 347              Filed 11/19/13   Page 2 of 2
